         Case 1:23-mc-00099-TSC Document 19 Filed 11/10/23 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v.                                                      Case No. 1:23-mc-99-TSC

DONALD J. TRUMP,

      Defendant.
________________________________/

                 PRESIDENT TRUMP’S RESPONSE TO
          MEDIA COALITION’S MOTION FOR AUDIOVISUAL AND
APPLICATION OF NBC UNIVERSAL MEDIA, LLC TO PERMIT VIDEO AND AUDIO

       Before the Court are two motions by media outlets requesting audio and visual recording

as well as broadcasting of the potential trial and other proceedings in this matter. One motion is by

a combined Media Coalition (No. 1:23-mc-99-TSC, Doc. 1) and the other by NBC Universal

Media, LLC (No. 1:23-mc-107-TSC, Doc. 1) (together, the “Motions”).1

       For the first time in American history, an incumbent administration has charged its main,

leading electoral opponent with a criminal offense. Aware that its charges are meritless, the

prosecution has sought to proceed in secret, forcing the nation and the world to rely on biased,

secondhand accounts coming from the Biden Administration and its media allies. As a result, the

citizens of our great country are unable to review for themselves what the facts of this case show,

and how unfairly President Trump is being treated at the hands of his political opponent. As

President Trump has made clear from the outset, the prosecution has repeatedly denied him his

fundamental constitutional rights, including the right to prepare for trial and to present a fulsome



1
 Per the Court’s instructions, this response is filed in Case No. 1:23-mc-99-TSC, but should be
construed as a response to both Motions or any additional motions on the topic of audio and
visual access to the trial.

                                                 1
         Case 1:23-mc-00099-TSC Document 19 Filed 11/10/23 Page 2 of 5




defense. The prosecution wishes to continue this travesty in darkness. President Trump calls for

sunlight. Every person in America, and beyond, should have the opportunity to study this case

firsthand and watch as, if there is a trial, President Trump exonerates himself of these baseless and

politically motivated charges. The Court should grant the Motions without delay.

                                           DISCUSSION

       At every turn, the Court has, at the prosecution’s urging, denied President Trump his

inalienable rights, including, without limitation, the rights to: a fair trial in a politically diverse

venue, due process, a judge without the appearance of bias or prejudgment, prepare for trial, and

the right to speak freely and publicly about this case in the face of the prosecution’s egregious lies.

The prosecution, betraying its solemn obligation to ensure that “justice shall be done,” Berger v.

United States, 295 U.S. 78, 88 (1935), has sought these inexcusable constitutional violations as

part of a coordinated effort to undermine President Trump’s candidacy as he faces, and leads,

President Biden in the 2024 Presidential Election. Despite systemic prosecutorial misconduct, this

Court has not acted to either ensure or protect President Trump’s constitutional rights.

       There is a high risk that proceeding behind closed doors under these circumstances would

serve to further undermine confidence in the United States justice system, while continuing to

prejudice President Trump’s rights. For good reason, political trials “have virtually no defenders;

they are reviled as a corruption of the judicial process and a betrayal of liberal principles.” Eric A.

Posner, Political Trials in Domestic and International Law, 55 DUKE L.J. 75, 78 (2005); id. at 105

(“[A]lthough the ability to target political opponents using low process may help the government

maintain its power, this advantage may not compensate for the loss of public confidence.”).

       Indeed, “‘show trials’ tell more about the power of the state than about its concern for the

decent administration of justice—with every citizen receiving the same kind of justice.” Chandler



                                                  2
         Case 1:23-mc-00099-TSC Document 19 Filed 11/10/23 Page 3 of 5




v. Florida, 449 U.S. 560, 580 (1981). Where a judicial proceeding takes place without traditional

notions of due process, in a transparently partisan mission to defeat a political opponent ahead of

an election that the prosecuting administration is likely to lose, value can be gained from televised

broadcasts. Indeed, the public exposure will ensure that all can see how the Biden Administration

is unlawfully and unconstitutionally attempting to eliminate its leading political opponent. Posner,

55 DUKE L.J. at 107; Otto Kirchheimer, Political Justice: The Use of Legal Procedure for Political

Ends, 46, 47 (Greenwood Press 1980) (“The traditional [political] trial, [goes] beyond the pale of

constitutionalism, riding roughshod over the defendant’s procedural rights, and trying to squeeze

propaganda value from possible distortions of actual events.”).

       Make no mistake, many of President Trump’s constitutional rights have been denied in this

case. Despite dumping nearly 13 million pages of documents on President Trump’s defense

counsel (along with thousands of hours of video and audio content), the prosecution sought a near-

immediate trial, that it wanted to begin the same day as a scheduled evidentiary hearing in a

separate criminal trial brought by the same prosecutor, allowing no time to adequately interview

witnesses and respond to the charges. The prosecution has also stone-walled President Trump’s

reasonable requests for relevant discovery and exculpatory material,2 while itself demanding early

and unfair notice of his defenses and perpetrating unprecedented abridgments of President Trump’s

core freedoms of speech, due process, and defense preparation—all with the aim of winning an

unjust conviction. Although the prosecution claims otherwise, its actions speak far louder than its




2
  Most recently, the prosecution opposed President Trump’s constitutionally grounded request to
extend the motion deadline to issue pretrial subpoenas and compel discovery. These are transparent
attempts, characteristic of show trials, to thwart President Trump’s rights to obtain exculpatory
evidence. See Posner, 55 DUKE L.J. at 115.

                                                 3
         Case 1:23-mc-00099-TSC Document 19 Filed 11/10/23 Page 4 of 5




words. Posner, 55 DUKE L.J. at 115 (“Governments can rarely be completely candid in political

trials because they do not want to admit that the trial violates due process.”).

       Where, as here, the political opposition brings charges, the prosecutors and the Court

should go above and beyond to ensure fairness and due process. Unfortunately, at every step of the

way, the Court has allowed these attacks on President Trump’s constitutional rights to continue,

placing the interests of his political opposition above the precious protections that American

patriots have fought and died for since our inception as a country.3

       As such, this case has all the unfortunate badges of a trial in an authoritarian regime, lacking

legitimacy or due process. Posner, 55 DUKE L.J. at 110 (“The most recognizable political trial is

an ordinary trial for violation of a law that prohibits political opposition to the government.”);

Awol K. Allo, The ‘Show’ in the ‘Show Trial’: Contextualizing the Politicization of the Courtroom,

15 Barry L. Rev. 41, 42 (2010) (“As the struggle for power predominates the exercise of political

authority…strategic, rather than deliberative, formation of truth-regimes and knowledge-objects

serve to authenticate and legitimize exclusionary, subjugating, and oppressive political goals.”).

       “Within the courthouse the only relevant constitutional consideration is that the accused be

accorded a fair trial.” Estes v. State of Tex., 381 U.S. 532, 589 (1965) (Harlan, J., concurring). That

consideration has been systematically repressed from the beginning of this case. The public

deserves to know about this travesty of justice and judge it for themselves. Sunlight is the only


3
  Unlike in authoritarian regimes, United States “judges are the guardians of due process rights, as
well as of political rights such as free speech.” Posner, 55 DUKE L.J. at 78–79. Without question,
the Biden Administration seeks to usurp the perceived legitimacy of the courts in order to further
its political goal of undermining its most significant rival. However, “the judicial process is
designed to enforce the law, it cannot be used to eliminate political enemies” and “[t]o attempt
such tasks is to injure the judicial process, because the principle of legality cannot survive them.”
Posner, 55 DUKE L.J. at 90 (citations omitted); see also Allo, 15 BARRY L. REV. at 42 (Fall 2010)
(“[T]he lexicon of ‘show trial’ evolved within a political setting that utilized the courtroom, not
for emancipatory purposes, but for purely coercive ideological ends”).

                                                  4
           Case 1:23-mc-00099-TSC Document 19 Filed 11/10/23 Page 5 of 5




disinfectant now available to restore justice to this proceeding and to ensure that the public’s

confidence in our judicial system is not irrevocably destroyed.

          In sum, President Trump absolutely agrees, and in fact demands, that these proceedings

should be fully televised so that the American public can see firsthand that this case, just like

others, is nothing more than a dreamt-up unconstitutional charade that should never be allowed to

happen again. Furthermore, President Trump is entitled to present his positions in this case to the

American public, including his sacred obligation as President to investigate and address fraud and

other irregularities in the 2020 Presidential Election. Therefore, the Court should grant the Motions

and allow the movants to broadcast the proceedings of this matter in order to ensure that the

American public can see the bare truth of this case, witness the Biden Administration’s wrongful

acts, and hear all the evidence regarding an election that President Trump believes was rigged and

stolen.




Dated: November 10, 2023                             Respectfully submitted,

                                                     /s/ John F. Lauro
Todd Blanche, Esq. (PHV)                             John F. Lauro, Esq.
toddblanche@blanchelaw.com                           D.C. Bar No. 392830
Emil Bove, Esq. (PHV)                                jlauro@laurosinger.com
emil.bove@blanchelaw.com                             Gregory M. Singer, Esq. (PHV)
BLANCHE LAW                                          gsinger@laurosinger.com
99 Wall St., Suite 4460                              Filzah I. Pavalon, Esq. (PHV)
New York, NY 10005                                   fpavalon@laurosinger.com
(212) 716-1250                                       LAURO & SINGER
                                                     400 N. Tampa St., 15th Floor
                                                     Tampa, FL 33602
                                                     (813) 222-8990

                                                     Counsel for President Donald J. Trump




                                                 5
